                                          1   Robert J. Miller, Esq. (#013334)                Michael W. Carmel (#007356)
                                              Bryce A. Suzuki, Esq. (#022721)                 MICHAEL W. CARMEL LTD.
                                          2   Justin A. Sabin, Esq. (#026359)                 80 E. Columbus Avenue
                                              BRYAN CAVE LLP                                  Phoenix, Arizona 85012
                                          3   Two N. Central Avenue, Suite 2200               Telephone: (602) 264-4965
                                          4   Phoenix, AZ 85004-4406                          Facsimile: (602) 277-0144
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                                          6             bryce.suzuki@bryancave.com
                                                        justin.sabin@bryancave.com
                                          7
                                          8   Counsel for Chapter 11 Trustee

                                          9                         IN THE UNITED STATES BANKRUPTCY COURT

                                         10                                   FOR THE DISTRICT OF ARIZONA

                                         11   In re:                                           Chapter 11
Two North Central Avenue, Suite 2200




                                         12                                         
    Phoenix, Arizona 85004-4406




                                              FRONTIER STAR, LLC,                              Case No. 2:15-bk-09383-EPB
                                              FRONTIER STAR CJ, LLC,                
                                         13                                         
          Bryan Cave LLP




                                              FRONTIER STAR 1, LLC,
           (602) 364-7000




                                                                                               Jointly Administered with:
                                         14   MIH ADMIN SERVICES, LLC,                        2:15-bk-09385-EPB
                                                                                               2:15-bk-14679-EPB
                                         15                             Debtors.               2:15-bk-14682-EPB
                                         16                                                    CHAPTER 11 TRUSTEE’S:
                                              This filing applies to:
                                         17                                                    (I) SECOND OMNIBUS OBJECTION TO
                                         18            ■ All Debtors                           CERTAIN ADMINISTRATIVE
                                                                                               EXPENSE CLAIMS; AND
                                                        Specified Debtors
                                         19
                                                                                               (II) MOTION TO ALLOW AND PAY
                                         20                                                    CERTAIN ADMINISTRATIVE
                                                                                               EXPENSE CLAIMS
                                         21
                                                                                               Hearing Date: December 8, 2016
                                         22
                                                                                               Hearing Time: 1:30 p.m.
                                         23
                                         24    PARTIES RECEIVING THIS CHAPTER 11 TRUSTEE’S: (I) SECOND OMNIBUS
                                               OBJECTION TO CERTAIN ADMINISTRATIVE EXPENSE CLAIMS; AND (II)
                                         25    MOTION TO ALLOW AND PAY CERTAIN ADMINISTRATIVE EXPENSE CLAIMS
                                         26    SHOULD LOCATE THEIR NAMES AND CLAIMS IN THE ATTACHED EXHIBITS.

                                         27
                                         28

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                                          1            Pursuant to 11 U.S.C. §§ 105(a) and 502 and Federal Rule of Bankruptcy Procedure

                                          2   3007, P. Gregg Curry, the chapter 11 trustee (the “Trustee”), hereby requests that the Court enter

                                          3   an order: (i) sustaining the objections to the administrative expense claims listed on Exhibit A

                                          4   (each a “Disputed Claim”), allowing such Disputed Claims in the modified amounts set forth on

                                          5   Exhibit A and disallowing any amounts claimed in excess thereof, or disallowing such Disputed

                                          6   Claims in their entirety, as applicable, and authorizing the payment of such Disputed Claims in

                                          7   the allowed amounts; (ii) authorizing the payment of the administrative expense claims listed on

                                          8   Exhibit B (each an “Agreed Claim”), which Agreed Claims the Trustee has analyzed and

                                          9   determined should be allowed in the amounts set forth on Exhibit B either in the amount as

                                         10   asserted or as otherwise agreed between the creditor and the Trustee; and (iii) waiving any
Two North Central Avenue, Suite 2200




                                         11   restriction under Federal Rule of Bankruptcy Procedure 3007 on the Trustee’s ability to seek the
    Phoenix, Arizona 85004-4406




                                         12   relief requested herein in an omnibus filing.1 Payment of any administrative expense claim
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                                         13   approved by the Court pursuant hereto shall be in full and final satisfaction of such

                                         14   administrative expense claim. For the avoidance of doubt, this filing does not address or

                                         15   affect any asserted claim of any other type that may be included in any proof of claim

                                         16   evidencing any administrative expense claim addressed herein.

                                         17            The debtors sold substantially all of their assets in March 2016. Since then, the Trustee

                                         18   has been working through a process of analyzing and paying secured and administrative expense

                                         19   claims from the proceeds of the sale. The Trustee has now analyzed substantially all2 of the

                                         20   administrative expense claims asserted in these bankruptcy cases. Through this filing, the Trustee

                                         21   intends to resolve his objections to the administrative expense claims addressed herein and

                                         22   otherwise obtain authority to pay such claims in the amounts allowed by the Court.

                                         23            In support of the relief requested herein, the Trustee submits as follows:

                                         24
                                              1
                                         25           To the extent any party’s response to the relief requested herein creates a potential
                                              conflict of interest for Bryan Cave LLP, the Trustee’s special counsel, Michael W. Carmel Ltd.,
                                         26   will represent the Trustee with respect to such responding party.
                                              2
                                         27            To the extent any administrative claims asserted in these cases are not addressed herein or
                                              in the Trustee’s prior filings or in orders of the Court, such claims will be addressed in separate
                                         28   filings. The Trustee reserves all rights and objections with respect to such claims.

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                                          1   I.       JURISDICTION AND VENUE.

                                          2            1.        The Court has jurisdiction to consider this relief requested herein pursuant to 28

                                          3   U.S.C. §§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

                                          4            2.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          5            3.        The predicates for the relief sought herein are 11 U.S.C. §§ 105(a) and 502(a) and

                                          6   (b) and Federal Rule of Bankruptcy Procedure 3007.

                                          7   II.      BACKGROUND.

                                          8            4.        On July 27, 2015, debtors Frontier Star, LLC and Frontier Star CJ, LLC each filed

                                          9   a voluntary chapter 11 petition. On November 17, 2015, debtors Frontier Star 1, LLC and MIH

                                         10   Admin Services, LLC each filed a voluntary chapter 11 petition. The debtors are referred to
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                                         11   collectively herein as the “Debtors.”
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                                         12            5.        The Debtors’ chapter 11 bankruptcy cases are jointly administered under lead
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                                         13   case No. 2:15-bk-09383-EPB.

                                         14            6.        On November 18, 2015, the United States Trustee appointed the Trustee. On

                                         15   November 19, 2015, the Court approved the Trustee’s appointment.

                                         16            7.        Prior to and during these bankruptcy proceedings, the Debtors operated more than

                                         17   160 Carl’s Jr. and Hardee’s franchised restaurants across multiple states. The Debtors generally

                                         18   operated their franchised restaurants at leased premises pursuant to various leases.

                                         19            8.        On March 31, 2016, the Court entered an order approving the sale (the “Sale”) of

                                         20   substantially all of the Debtors’ assets to Starcorp, LLC. [DE #888] As a result of the Sale, the

                                         21   Debtors no longer operate the franchised restaurants and all of the leases relating to the

                                         22   franchised restaurants have been rejected or assigned to Starcorp, LLC as part of the Sale.

                                         23            9.        Pursuant to the claim bar date order entered on January 4, 2016 [DE #605] and

                                         24   various lease rejection orders entered in these cases, the Court has approved bar dates for

                                         25   creditors to file proofs of claim asserting administrative expense claims against the Debtors’

                                         26   estates. The applicable administrative expense bar dates have now passed.

                                         27            10.       The Trustee has evaluated each of the administrative expense claims addressed

                                         28   herein and, based on his review and business judgment, seeks the relief requested herein.

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                                          1   III.     LEGAL ANALYSIS.

                                          2            A filed claim is deemed allowed unless a party in interests objects. 11 U.S.C. § 502(a). A

                                          3   proof of claim constitutes prima facie evidence of the validity and amount of the claim, but a

                                          4   claim objection need only offer “sufficient evidence and ‘show facts tending to defeat the claim

                                          5   by probative force equal to that of the allegations of the proofs of claim themselves.’” Lundell v.

                                          6   Anchor Constr. Specialists, Inc., 223 F.3d 1035, 1039 (9th Cir. 2000). Upon such a showing,

                                          7   “the burden reverts to the claimant to prove the validity of the claim by a preponderance of the

                                          8   evidence.” Id. The claimant always carries the ultimate burden of persuasion. Id.

                                          9            A.        Objections to Disputed Claims.

                                         10            The Trustee asserts one or more of the following objections to each of the Disputed
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                                         11   Claims as more particularly set forth on Exhibit A. The objections asserted herein overcome the
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                                         12   prima facie evidence of the validity and amount of the Disputed Claims, and such Disputed
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                                         13   Claims should be disallowed to the extent requested herein. Claimants should locate their

                                         14   names and claims on Exhibit A and review the bases for such objections set forth thereon.

                                         15                      1.    Books and Records Objections.

                                         16            Based upon his review of the Debtors’ books and records, the Trustee has determined that

                                         17   certain of the Disputed Claims are inconsistent with such books and records and other

                                         18   information available to the Trustee (each a “Books and Records Objection”). After diligent

                                         19   investigation, the Trustee has been unable to reconcile such inconsistencies. Accordingly, the

                                         20   Trustee asserts a Books and Records Objection to the relevant Disputed Claims listed on Exhibit

                                         21   A and, based thereon, requests that the Court disallow each such Disputed Claim to the extent set

                                         22   forth on Exhibit A.

                                         23                      2.    Unsupported Claim Objections.

                                         24            Based upon his review of the Disputed Claims, the Trustee has determined that certain

                                         25   Disputed Claims include no supporting documentation or other information to establish all or a

                                         26   portion of the amounts asserted in such Disputed Claims or the obligation of one or more

                                         27   Debtors with respect to such Disputed Claims (each an “Unsupported Claim Objection”). Absent

                                         28   such supporting documentation or information, the Trustee has no ability to assess whether such

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                                          1   claims may be owing by any of the Debtors and whether such claims are otherwise in appropriate

                                          2   amounts. Accordingly, the Trustee asserts an Unsupported Claim Objection to the relevant

                                          3   Disputed Claims listed on Exhibit A and, based thereon, requests that the Court disallow each

                                          4   such Disputed Claim to the extent set forth on Exhibit A.

                                          5                      3.   Non-Debtor Obligation Objections.

                                          6            Based upon his review of the Disputed Claims, the Trustee has determined that certain

                                          7   Disputed Claims are based on contracts to which no Debtor is a party or is otherwise liable or

                                          8   relate to services or goods provided with respect to franchised restaurants that no Debtor owned

                                          9   or was otherwise liable (each a “Non-Debtor Obligation Objection”). Accordingly, no Debtor is

                                         10   liable for the amounts asserted in such Disputed Claims. Accordingly, the Trustee asserts a Non-
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                                         11   Debtor Obligation Objection to the relevant Disputed Claims listed on Exhibit A and, based
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                                         12   thereon, requests that the Court disallow each such Disputed Claim in its entirety as set forth on
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                                         13   Exhibit A.

                                         14            To the extent the applicable claimant establishes, or the Court finds, that one or more of

                                         15   the Debtors is a party to the applicable contract or is otherwise obligated for any amounts

                                         16   asserted with respect to a claim for which the Trustee has asserted a Non-Debtor Obligation

                                         17   Objection, the Trustee reserves its right to raise any and all applicable objections he may have to

                                         18   the amounts sought by the creditor under the contract, including, without limitation, any amounts

                                         19   claimed for rent, taxes, fees and charges, attorneys’ fees and costs, and any and all other

                                         20   amounts.

                                         21                      4.   Non-Administrative Period Objections.

                                         22            Based upon his review of the Disputed Claims, the Trustee has determined that certain of

                                         23   the Disputed Claims seek to recover as an administrative expense claim amounts for claims that

                                         24   arose prior to applicable petition date (each a “Non-Administrative Period Objection”). With

                                         25   limited exceptions, administrative expenses claims may only be based on claims arising after the

                                         26   petition date. 11 U.S.C. § 503. Accordingly, the Trustee asserts a Non-Administrative Period

                                         27   Objection to the relevant Disputed Claims listed on Exhibit A for any amounts for claims that

                                         28

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                                          1   arose prior to the applicable petition date and, based thereon, requests that the Court disallow

                                          2   each such Disputed Claim to the extent set forth on Exhibit A.

                                          3                      5.    Duplicative Claim Objections.

                                          4            Based on his review of the Disputed Claims, the Trustee has determined that certain of

                                          5   the Disputed Claims are identical to or otherwise duplicative of other administrative expense

                                          6   claims filed against one or more of the Debtors by the same claimant (each a “Duplicative Claim

                                          7   Objection”). There is no basis to allow claimants to obtain multiple recoveries for the same debt.

                                          8   Accordingly, the Trustee asserts a Duplicative Claim Objection to the relevant Disputed Claims

                                          9   listed on Exhibit A and, based thereon, requests that the Court disallow each such Disputed

                                         10   Claim in its entirety as set forth on Exhibit A.
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                                         11                      6.   Late-Filed Claim Objections.
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                                         12            Based on his review of the Disputed Claims, the Trustee has determined that certain of
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                                         13   the Disputed Claims were filed after the applicable deadline to file such claims established in

                                         14   orders entered by the Court (each a “Late-Filed Claim Objection”). Accordingly, the Trustee

                                         15   asserts a Late-Filed Claim Objection to the relevant Disputed Claims listed on Exhibit A and,

                                         16   based thereon, requests that the Court disallow each such Disputed Claim in its entirety as set

                                         17   forth on Exhibit A.

                                         18                      7.   Not Necessary to Preserve Estates Objections.

                                         19            Based on his review of the Disputed Claims, the Trustee has determined that certain of

                                         20   the Disputed Claims assert administrative expense claims for goods or services that were not

                                         21   provided to the Debtors’ estates or otherwise provided no benefit to the Debtors’ estates and,

                                         22   therefore, were not necessary to the preservation of the Debtors’ estates as required under section

                                         23   503(b)(1)(A) of the Bankruptcy Code (each a “Not Necessary to Preserve Estates Objection”).

                                         24   Accordingly, the Trustee asserts a Not Necessary to Preserve Estates Objection to the relevant

                                         25   Disputed Claims listed on Exhibit A and, based thereon, requests that the Court disallow each

                                         26   such Disputed Claim as set forth on Exhibit A.

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                                          1            B.        Allowance of Disputed Claims.

                                          2            Based upon his analysis of the Disputed Claims and the objections asserted herein, and

                                          3   further based upon his reasonable business judgment, the Trustee has determined that the

                                          4   Disputed Claims that are not otherwise identified as Disputed Claims that should be disallowed

                                          5   entirely should be allowed in the “Proposed Allowed Claim Amounts” set forth on Exhibit A.

                                          6            C.        Allowance of Agreed Claims.

                                          7            Based upon his analysis of the Agreed Claims, and further based upon his reasonable

                                          8   business judgment, the Trustee has determined that the Agreed Claims are consistent with the

                                          9   Debtors’ books and records and other information available to the Trustee or otherwise are in

                                         10   acceptable amounts as determined after negotiations between the creditor and the Trustee.
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                                         11   Accordingly, the Trustee has no objection to the prima facie validity or amount of the Agreed
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                                         12   Claims, and the Agreed Claims as set forth on Exhibit B, and the Agreed Claims should therefore
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                                         13   be allowed in the “Proposed Allowed Claim Amounts” set forth on Exhibit B.

                                         14            D.        Payment of Allowed Claims.

                                         15            Pursuant to section 105(a) of the Bankruptcy Code, the Court may “issue any order,

                                         16   process, or judgment that is necessary or appropriate to carry out the provisions of [the

                                         17   Bankruptcy Code].” 11 U.S.C. § 105(a). The Debtors’ assets were sold in March 2016 and the

                                         18   proceeds of the Sale are available to pay administrative expense claims. The Trustee is cognizant

                                         19   that claimants asserting the administrative claims that should be allowed as set forth herein have

                                         20   been waiting months for payment. The Trustee is now in position to pay these claims in the

                                         21   amounts requested herein, and payment of such amounts is consistent with the Trustee’s duties

                                         22   and is in the best interests of the Debtors and their estates. Accordingly, the Trustee requests that

                                         23   the Court authorize him to pay the Disputed Claims and the Allowed Claims in the amounts

                                         24   requested by the Trustee herein.

                                         25            E.        Waiver of Restrictions Under Federal Rule 3007.

                                         26            Federal Rule of Bankruptcy Procedure 3007 authorizes a bankruptcy court to deviate

                                         27   from the general restrictions imposed therein on omnibus claims objections. Fed. R. Bankr. P.

                                         28   3007(c), (d). The limitations set forth in Rule 3007 are generally designed to ensure claimants

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                                          1   receive appropriate due process and are not burdened with wading through lists of hundreds or

                                          2   thousands of creditors to locate any potential objection their respective claims. See COLLIER ON

                                          3   BANKRUPTCY, ¶ 3007.04.

                                          4            Those concerns are not present here, and in any event are outweighed by the

                                          5   circumstances of these cases. Here, this filing addresses claims filed by only 14 claimants total

                                          6   and each claimant’s name is boldly and conspicuously listed in alphabetical order on the attached

                                          7   exhibits. Further, the Trustee will be providing notice to each claimant that specifically identifies

                                          8   such claimant’s claims addressed in this filing and the Trustee’s objections thereto. Accordingly,

                                          9   there simply is no concern that any affected claimant will be unable to easily locate its name and

                                         10   any corresponding objections to its claims in this filing or otherwise suffer any lack of due
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                                         11   process.
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                                         12            Furthermore, the estates resources are limited, and requiring the Trustee to prepare and
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                                         13   file separate objections and motions authorizing payment of allowed claims for each of the

                                         14   claims addressed in this filing would be cumbersome, inefficient, and expensive. The Trustee

                                         15   submits that the estates’ limited resources would be better used to pay allowed claims in these

                                         16   cases than spent on fees and costs to resolve the affected claims through a less efficient process.

                                         17   Accordingly, the Trustee requests that the Court waive any limitation set forth in Rule 3007 that

                                         18   would limit his ability to obtain the relief he requests in the manner requested herein.

                                         19   IV.      RESERVATION OF RIGHTS.

                                         20            The Trustee reserves all rights with respect to any and all claims not specifically

                                         21   addressed herein, and nothing herein shall be deemed a waiver of any objection or other right

                                         22   with respect to such claims. Furthermore, and for the avoidance of doubt, this filing does not

                                         23   address or resolve, and the Trustee does not waive, any claim or cause of action that the Trustee

                                         24   or the Debtors’ estates may hold with respect to any party (including any party holding an

                                         25   administrative expense claim addressed herein), and the Trustee hereby reserves all of its rights

                                         26   with respect to such claims and causes of action.

                                         27            WHEREFORE, the Trustee respectfully requests that the Court enter an order:

                                         28            A.        sustaining the Trustee’s objections to each Disputed Claim;

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                                          1            B.        allowing each Disputed Claim in the applicable “Proposed Allowed Claim

                                          2   Amount” listed on Exhibit A and disallowing each Disputed Claim asserted in excess thereof, or

                                          3   disallowing each Disputed Claim in its entirety as set forth on Exhibit A, and allowing payment

                                          4   of each Disputed Claim in the applicable allowed amount in full satisfaction thereof;

                                          5            C.        allowing each Agreed Claim in the applicable “Proposed Allowed Claim

                                          6   Amount” listed on Exhibit B and allowing payment of each Agreed Claim in the applicable

                                          7   allowed amount in full satisfaction thereof;

                                          8            D.        waiving any limitation set forth in Federal Rule of Bankruptcy Procedure 3007

                                          9   that would limit the Trustee’s ability to obtain the requested relief in the manner requested

                                         10   herein; and
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                                         11            E.        granting to the Trustee such other and further relief as may be necessary or
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                                         12   appropriate under the circumstances.
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                                         13            RESPECTFULLY SUBMITTED this 7th day of November, 2016.

                                         14                                                  BRYAN CAVE LLP
                                         15
                                         16                                                  By /s/ JAS, #026359
                                                                                               Robert J. Miller
                                         17                                                    Bryce A. Suzuki
                                                                                               Justin A. Sabin
                                         18                                                    Two North Central Avenue, Suite 2200
                                         19                                                    Phoenix, Arizona 85004-4406
                                                                                               Counsel for the Chapter 11 Trustee
                                         20
                                                                                                -and-
                                         21
                                                                                                MICHAEL W. CARMEL LTD.
                                         22                                                     Michael W. Carmel
                                         23                                                     80 E. Columbus Ave.
                                                                                                Phoenix, Arizona 85012
                                         24                                                     Special Counsel for the Chapter 11 Trustee

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                                                      EXHIBIT A


                                                  DISPUTED CLAIMS


EACH OBJECTION SET FORTH ON THIS EXHIBIT A CONTAINS A REFERENCE TO AN OBJECTION TYPE AND TO A
SECTION NUMBER, WHICH CORRESPOND TO THE OBJECTION TYPES AND SECTION NUMBERS SET FORTH IN THE
CHAPTER 11 TRUSTEE’S: (I) SECOND OMNIBUS OBJECTION TO CERTAIN ADMINISTRATIVE EXPENSE CLAIMS; AND (II)
MOTION TO ALLOW AND PAY CERTAIN ADMINISTRATIVE EXPENSE CLAIMS TO WHICH THIS EXHIBIT A IS ATTACHED.




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CREDITOR NAME
4M PROPERTIES L.P.
Claim No.          Case No.                                        Applicable Petition Date                                                                         Claim Amount
42-2               15-bk-09385 (Frontier Star CJ, LLC)             N/A                                                                                                 $61,967.84
Objections to Claim                                                                                                                                                Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1); Unsupported Claim Objection (Section III.A.2.); Non-Debtor Obligation                              $61,967.84
Objection (Section III.A.3.)
The claim is based on two separate leases between the creditor, as landlord, and MJKL Enterprises, LLC, as tenant. None of the Debtors is a party to the
leases upon which this claim is based. Accordingly, the Trustee asserts a Non-Debtor Obligation Objection. Furthermore, the Debtors’ business records do
not support any claim against any of the Debtors for any obligations arising under the leases on which this claim is based, and the claim provides no
information or documentation establishing that any Debtor is a party to the relevant leases or is otherwise obligated for any amounts owing thereunder.
Accordingly, the Trustee asserts a Books and Records Objection and an Unsupported Claim Objection. Based on these objections, the asserted
administrative expense claim should be disallowed in its entirety.

NOTICE IS HEREBY GIVEN that, to the extent the creditor should establish or should the Court find that one or more of the Debtors is a party to either
of the leases or is otherwise obligated for any amounts thereunder, the Trustee reserves its right to raise any and all applicable objections he may have to the
amounts sought by the creditor under the leases, including, without limitation, any amounts claimed for rent, taxes, fees and charges, attorneys’ fees and
costs, and any and all other amounts.
                                                                     PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                      $0.00
                                                                                                                                                                    (disallow in full)




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CREDITOR NAME
CALABRIA COMPANY, LLC
Claim No.          Case No.                                       Applicable Petition Date                                                                   Claim Amount
50-1               15-bk-09385 (Frontier Star CJ, LLC)            N/A                                                                                          $133,362.00
Objections to Claim                                                                                                                                         Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1); Unsupported Claim Objection (Section III.A.2.); Non-Debtor Obligation                      $133,362.00
Objection (Section III.A.3.)
The claim is based on a lease between the creditor, as landlord, and MJKL Enterprises, LLC, as tenant. None of the Debtors is a party to the lease upon
which this claim is based. Accordingly, the Trustee asserts a Non-Debtor Obligation Objection. Furthermore, the Debtors’ business records do not support
any claim against any of the Debtors for any obligations arising under the lease on which this claim is based, and the claim provides no information or
documentation establishing that any Debtor is a party to the relevant lease or is otherwise obligated for any amounts owing thereunder. Accordingly, the
Trustee asserts a Books and Records Objection and an Unsupported Claim Objection. Based on these objections, the asserted administrative expense claim
should be disallowed in its entirety.

NOTICE IS HEREBY GIVEN that, to the extent the creditor should establish or should the Court find that one or more of the Debtors is a party to the
lease or is otherwise obligated for any amounts thereunder, the Trustee reserves its right to raise any and all applicable objections he may have to the
amounts sought by the creditor under the lease, including, without limitation, any amounts claimed for rent, taxes, fees and charges, attorneys’ fees and
costs, and any and all other amounts.
                                                                    PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                $0.00
                                                                                                                                                             (disallow in full)




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CREDITOR NAME
CITY OF EDDYVILLE KENTUCKY; EDDYVILLE WATER
Claim No.           Case No.                                        Applicable Petition Date                                                                           Claim Amount
63-1                15-bk-09383 (Frontier Star, LLC)                July 27, 2015                                                                                         $2,166.61
Objections to Claim                                                                                                                                                   Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1); Non-Debtor Obligation Objection (Section III.A.3.); Not Necessary to Preserve                         $2,166.61
Estates Objection (Section III.A.7.)
The claim is filed as a Governmental Claim for $2,166.61 for “utility services for water and sewer, garbage services” for a property located in Eddyville,
Kentucky. As an initial matter, the Governmental Claim does not indicate whether the claim asserted therein is an administrative expense claim at all. Out of
an abundance of caution, however, the Trustee addresses the claim as follows.
The claim is for services provided to a franchised restaurant at one time operated by one or more of the Debtors located at 30 Outlet Avenue, Eddyville, KY.
The lease for the franchised restaurant was rejected effective as of August 27, 2015. [DE #652] The invoices attached to the claim appear to indicate that the
services were provided to the franchised restaurant for the period between October 13, 2015 to November 17, 2015. Any services provided to the store after
the lease rejection date did not provide any benefit to the estates or otherwise operate to preserve the estates as required for the existence of an administrative
expense claim under section 503 of the Bankruptcy Code. See 11 U.S.C. § 503(b)(1)(A). Accordingly, the Trustee objects on that basis and asserts a Non-
Debtor Obligation Objection and a Not Necessary to Preserve Estates Objection. Based on these objections, the asserted administrative expense claim should
be disallowed in its entirety.
To the extent the claim is not disallowed in its entirety pursuant to the objection above, the Debtors’ books and records show that the sum of $302.50 has
been paid in the ordinary course on this claim. Accordingly, the Trustee asserts a Books and Records objection with respect to such amount. Based on this
objection, the asserted administrative expense claim should be reduced by $302.50 and disallowed in such amount.
                                                                      PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                        $0.00
                                                                                                                                                                       (disallow in full)
Claim No.           Case No.                                        Applicable Petition Date                                                                           Claim Amount
13-1                15-bk-14679 (Frontier Star 1, LLC)              November 17, 2015                                                                                     $2,166.61
Objections to Claim
Specific Objections: Duplicative Claim Objection (Section III.A.5.)                                                                                                       $2,166.61
This claim does not appear to be filed as an administrative expense claim, but it is duplicative of, and seeks payments of amounts set forth in, creditor’s
Claim No. 63-1 above. Accordingly, to the extent this claim asserts an administrative expense claim, the Trustee asserts a Duplicative Claim Objection.
Based on this objection, the asserted administrative expense claim should be disallowed in its entirety. To the extent applicable, the Trustee asserts the same
objections to this administrative expense claim as the Trustee asserts to Claim No. 63-1 above.
                                                                      PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                        $0.00
                                                                                                                                                                       (disallow in full)




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CREDITOR NAME
CONSTELLATION NEWENERGY, INC.
Claim No.           Case No.                                        Applicable Petition Date                                                                          Claim Amount
51-1                15-bk-14682 (MIH Admin Services, LLC)           November 17, 2015                                                                                    $59,930.79
Objections to Claim                                                                                                                                                  Disputed Amounts
Specific Objections: Not Necessary to Preserve Estates Objection (Section III.A.7.)                                                                                      $59,930.79
The claim asserts a total of $59,930.79 for electricity services provided for various KFC stores that were not owned or operated by any of the Debtors during
the chapter 11 bankruptcy cases or during the 20-day period prior to the filing of debtor MIH Admin Services, LLC’s chapter 11 petition that this claim
encompasses. Any services provided to the KFC stores did not provide any benefit to the estates or otherwise operate to preserve the estates as required for
the existence of an administrative expense claim under section 503 of the Bankruptcy Code. See 11 U.S.C. § 503(b)(1)(A). Accordingly, the Trustee objects
on that basis and asserts a Not Necessary to Preserve Estates Objection. Based on this objection, the asserted administrative expense claim should be
disallowed in its entirety.
To the extent the claim is not disallowed in its entirety for the reason set forth above, the Trustee asserts the following additional objections:
Specific Objections: Not Necessary to Preserve Estates Objection (Section III.A.7.); Section 503(b)(9) objection asserted below
The claim includes $10,810.49 in electricity charges for the 20-day period prior to the date of the filing of debtor MIH Admin Services, LLC’s chapter 11
petition that the creditor claims are recoverable under 11 U.S.C. § 503(b)(9), $38,506.43 in early termination fees, and $247.19 in finance charges. With
respect to the claim under section 503(b)(9), a creditor may assert an administrative expense claim for the value of “goods” provided during the 20-day
period preceding a bankruptcy filing. Here, the creditor claims to have provided electricity services during this period, which services do not constitute
“goods” under section 503(b)(9). In re NE Opco, Inc., 501 B.R. 233, 256 (Bankr. D. Del. 2013) (“Electricity is not a good under section 503(b)(9) of the
Bankruptcy Code.”). Accordingly, the Trustee objects on the basis that the claim includes services charges for the 20-day period prior to the applicable
petition date that are not recoverable as an administrative expense claim under section 503(b)(9). The Trustee further objects to the early termination fees
and finance charges on the basis that such charges did not provide any benefit to the estates or otherwise operate to preserve the estates as required for the
existence of an administrative expense claim under section 503 of the Bankruptcy Code. See 11 U.S.C. § 503(b)(1)(A). Accordingly, the Trustee asserts a
Not Necessary to Preserve Estates Objection to each of these amounts. Based on these objections, the asserted administrative expense claim should be
reduced by $49,564.11 (the sum of these charges) and disallowed in such amount.
                                                                      PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                       $0.00
                                                                                                                                                                      (disallow in full)
Claim No.           Case No.                                        Applicable Petition Date                                                                          Claim Amount
50-1                15-bk-14682 (MIH Admin Services, LLC)           November 17, 2015                                                                                    $10,810.49
Objections to Claim
Specific Objections: Duplicative Claim Objection (Section III.A.5.)                                                                                                      $10,810.49
The claim appears to be filed as a general unsecured claim but includes $10,810.49 in electricity charges for the 20-day period prior to the date of the filing
of debtor MIH Admin Services, LLC’s chapter 11 petition that the creditor claims are recoverable under 11 U.S.C. § 503(b)(9), which amounts are
duplicative of amounts set forth in creditor’s Claim No. 51-1 above. Accordingly, the Trustee asserts a Duplicative Claim Objection. Based on this
objection, to the extent the claim asserts an administrative expense claim for the $10,810.49 in electricity charges, it should be disallowed in its entirety with
respect to such claim. To the extent applicable, the Trustee asserts the same objections to this administrative expense claim as the Trustee asserts to Claim

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No. 51-1 above.
                                            PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)         $0.00
                                                                                                              (disallow in full)




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CREDITOR NAME
CUMMING D. CARL’S, LLC
Claim No.          Case No.                                       Applicable Petition Date                                                                   Claim Amount
48-1               15-bk-09385 (Frontier Star CJ, LLC)            N/A                                                                                           $49,517.17
Objections to Claim                                                                                                                                         Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1); Unsupported Claim Objection (Section III.A.2.); Non-Debtor Obligation                       $49,517.17
Objection (Section III.A.3.)
The claim is based on a lease between the creditor, as landlord, and MJKL Enterprises, LLC, as tenant. None of the Debtors is a party to the lease upon
which this claim is based. Accordingly, the Trustee asserts a Non-Debtor Obligation Objection. Furthermore, the Debtors’ business records do not support
any claim against any of the Debtors for any obligations arising under the lease on which this claim is based, and the claim provides no information or
documentation establishing that any Debtor is a party to the relevant lease or is otherwise obligated for any amounts owing thereunder. Accordingly, the
Trustee asserts a Books and Records Objection and an Unsupported Claim Objection. Based on these objections, the asserted administrative expense claim
should be disallowed in its entirety.

NOTICE IS HEREBY GIVEN that, to the extent the creditor should establish or should the Court find that one or more of the Debtors is a party to the
lease or is otherwise obligated for any amounts thereunder, the Trustee reserves its right to raise any and all applicable objections he may have to the
amounts sought by the creditor under the lease, including, without limitation, any amounts claimed for rent, taxes, fees and charges, attorneys’ fees and
costs, and any and all other amounts.
                                                                    PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                $0.00
                                                                                                                                                             (disallow in full)




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CREDITOR NAME
ECOLAB INC. PEST ELIMINATION DIVISION
Claim No.          Case No.                                       Applicable Petition Date                                                                        Claim Amount
61-1               15-bk-09385 (Frontier Star CJ, LLC)            July 27, 2015                                                                                      $36,522.71
Objections to Claim                                                                                                                                              Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1)                                                                                                   $36,522.71
The claim includes charges of $36,522.71 for services provided to one or more of the Debtors from the July 27, 2015 petition date through February 8, 2016.
According to the Debtors’ books and records, the creditor was paid amounts totaling $71,308 for the period between November 18, 2015 through February
11, 2015. Based on these payments, the creditor has been paid in full for the services provided as set forth in this claim. Accordingly, the Trustee asserts a
Books and Records Objection. Based on this objection, the asserted administrative expense claim should be disallowed in its entirety.
                                                                    PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                     $0.00
                                                                                                                                                                  (disallow in full)
Claim No.          Case No.                                       Applicable Petition Date                                                                        Claim Amount
119-1              15-bk-09383 (Frontier Star, LLC)               July 27, 2015                                                                                      $28,630.50
Objections to Claim                                                                                                                                              Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1)                                                                                                   $28,630.50
The claim includes charges of $28,630.50 for services provided to one or more of the Debtors from the July 27, 2015 petition date through February 8, 2016.
According to the Debtors’ books and records, the creditor was paid amounts totaling $71,308 for the period between November 18, 2015 through February
11, 2015. Based on these payments, the creditor has been paid in full for the services provided as set forth in this claim. Accordingly, the Trustee asserts a
Books and Records Objection. Based on this objection, the asserted administrative expense claim should be disallowed in its entirety.
                                                                    PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                     $0.00
                                                                                                                                                                  (disallow in full)




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CREDITOR NAME
GCS SERVICE, INC.; ECOLAB EQUIPMENT CARE
Claim No.          Case No.                                       Applicable Petition Date                                                                       Claim Amount
120-1              15-bk-09383 (Frontier Star, LLC)               July 27, 2015                                                                                    $16,846.02
Objections to Claim                                                                                                                                             Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1); Unsupported Claim Objection (Section III.A.2.); Non-Debtor Obligation                          $13,765.65
Objection (Section III.A.3.); Not Necessary to Preserve Estates Objection (Section III.A.7.)
The claim includes $13,765.65 for post-petition goods and services the creditor provided to franchised restaurants not owned by any of the Debtors.
According to the Post-Petition Statement of Account attached to the claim, the creditor seeks to recover this amount for goods and services provided at
locations identified as KFC and KFC/A&W stores, none of which were owned by any of the Debtors. The only stores owned by any of the Debtors are those
identified as Carl’s Jr. or Hardee’s locations. None of the Debtors has any obligation to pay for goods or services provided at non-debtor locations, nor did
any such services provide any benefit to the estates or otherwise operate to preserve the estates as required for the existence of an administrative expense
claim under section 503 of the Bankruptcy Code. See 11 U.S.C. § 503(b)(1)(A). Accordingly, the Trustee asserts a Non-Debtor Obligation Objection and a
Not Necessary to Preserve Estates Objection. Furthermore, the Debtors’ business records do not support any claim against any of the Debtors for any
obligations arising in connection with these goods and services provided to non-debtor entities, and the claim provides no information or documentation
establishing that any Debtor is obligated for these goods and services. Accordingly, the Trustee asserts a Books and Records Objection and an Unsupported
Claim Objection. Based on these objections, the asserted administrative expense claim should be reduced by $13,765.65 disallowed in such amount.
                                                                    PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                $3,080.37




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CREDITOR NAME
HARRIS AND SONS PLUMBING INC
Claim No.          Case No.                                        Applicable Petition Date                                                                    Claim Amount
88-1               15-bk-14682 (MIH Admin Services, LLC)           November 17, 2015                                                                              $14,623.00
Objections to Claim                                                                                                                                           Disputed Amounts
Specific Objections: Late-Filed Claim Objection (Section III.A.6.)                                                                                                $14,623.00
The claim was filed on March 29, 2016. Per the Court’s order establishing bar dates for the filing of various claims, the creditor’s administrative expense
claim was required to be filed by no later than February 12, 2016. [DE #605] Further, none of the services asserted in the claim were performed after the
claim bar date. Accordingly, the Trustee asserts a Late-Filed Claim Objection. Based on this objection, the asserted administrative expense claim should be
disallowed entirely.

To the extent the Late-Filed Claim Objection should be overruled for any reason, the Trustee also asserts the following objection:
Specific Objections: Non-Administrative Period Objection (Section III.A.4.)
The claim is for services, all of which were performed prior to the Debtor’s petition date of November 17, 2015. Accordingly, the Trustee asserts a Non-
Administrative Period Objection. Based on this objection, the asserted administrative expense claim should be disallowed entirely.

The Trustee has no objection to the claim being reclassified as a general unsecured claim, and the Trustee reserves all of its rights and objections with
respect to such general unsecured claim.
                                                                     PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                 $0.00
                                                                                                                                                               (disallow in full)
Claim No.          Case No.                                        Applicable Petition Date                                                                    Claim Amount
86-1               15-bk-14682 (MIH Admin Services, LLC)           November 17, 2015                                                                              $14,623.00
Objections to Claim                                                                                                                                           Disputed Amounts
Specific Objections: Duplicative Claim Objection (Section III.A.5.)                                                                                               $14,623.00
The claim is duplicative of, and seeks payments of amounts set forth in, creditor’s Claim No. 88-1 above. Accordingly, the Trustee asserts a Duplicative
Claim Objection. Based on this objection, the asserted administrative expense claim should be disallowed in its entirety. To the extent applicable, the
Trustee asserts the same objections to this administrative expense claim as the Trustee asserts to Claim No. 88-1 above.

The Trustee has no objection to the claim being reclassified as a general unsecured claim, and the Trustee reserves all of its rights and objections with
respect to such general unsecured claim.
                                                                     PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                 $0.00
                                                                                                                                                               (disallow in full)




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CREDITOR NAME
PAR TECHNOLOGY CORPORATION
Claim No.          Case No.                                      Applicable Petition Date                                                                     Claim Amount
73-1               15-bk-09385 (Frontier Star CJ, LLC)           July 27, 2015                                                                                   $32,195.39
Objections to Claim                                                                                                                                          Disputed Amounts
Specific Objections: Duplicative Claim Objection (Section III.A.5)                                                                                               $32,195.39
The claim is duplicative of, and seeks payments of amounts set forth in, creditor’s Claim No. 152-1 filed in 15-bk-09383 referenced on Exhibit B below.
Accordingly, the Trustee asserts a Duplicative Claim Objection. Based on this objection, the asserted administrative expense claim should be disallowed in
its entirety.
                                                                   PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                  $0.00
                                                                                                                                                              (disallow in full)




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CREDITOR NAME
STAR NORTH ENTERPRISE, LLC
Claim No.          Case No.                                       Applicable Petition Date                                                                   Claim Amount
98-1               15-bk-09383 (Frontier Star, LLC)               N/A                                                                                           $69,934.50
Objections to Claim                                                                                                                                         Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1); Unsupported Claim Objection (Section III.A.2.); Non-Debtor Obligation                       $69,934.50
Objection (Section III.A.3.)
The claim is based on a lease between the creditor, as landlord, and MJKL Enterprises, LLC, as tenant. None of the Debtors is a party to the lease upon
which this claim is based. Accordingly, the Trustee asserts a Non-Debtor Obligation Objection. Furthermore, the Debtors’ business records do not support
any claim against any of the Debtors for any obligations arising under the lease on which this claim is based, and the claim provides no information or
documentation establishing that any Debtor is a party to the relevant lease or is otherwise obligated for any amounts owing thereunder. Accordingly, the
Trustee asserts a Books and Records Objection and an Unsupported Claim Objection. Based on these objections, the asserted administrative expense claim
should be disallowed in its entirety.

NOTICE IS HEREBY GIVEN that, to the extent the creditor should establish or should the Court find that one or more of the Debtors is a party to the
lease or is otherwise obligated for any amounts thereunder, the Trustee reserves its right to raise any and all applicable objections he may have to the
amounts sought by the creditor under the lease, including, without limitation, any amounts claimed for rent, taxes, fees and charges, attorneys’ fees and
costs, and any and all other amounts.
                                                                    PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                $0.00
                                                                                                                                                             (disallow in full)




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CREDITOR NAME
STRATA EQUITY CORPORATION
Claim No.          Case No.                                       Applicable Petition Date                                                                   Claim Amount
43-2               15-bk-09385 (Frontier Star CJ, LLC)            N/A                                                                                           $40,714.10
Objections to Claim                                                                                                                                         Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1); Unsupported Claim Objection (Section III.A.2.); Non-Debtor Obligation                       $40,714.10
Objection (Section III.A.3.)
The claim is based on a lease between the creditor, as landlord, and MJKL Enterprises, LLC, as tenant. None of the Debtors is a party to the lease upon
which this claim is based. Accordingly, the Trustee asserts a Non-Debtor Obligation Objection. Furthermore, the Debtors’ business records do not support
any claim against any of the Debtors for any obligations arising under the lease on which this claim is based, and the claim provides no information or
documentation establishing that any Debtor is a party to the relevant lease or is otherwise obligated for any amounts owing thereunder. Accordingly, the
Trustee asserts a Books and Records Objection and an Unsupported Claim Objection. Based on these objections, the asserted administrative expense claim
should be disallowed in its entirety.

NOTICE IS HEREBY GIVEN that, to the extent the creditor should establish or should the Court find that one or more of the Debtors is a party to the
lease or is otherwise obligated for any amounts thereunder, the Trustee reserves its right to raise any and all applicable objections he may have to the
amounts sought by the creditor under the lease, including, without limitation, any amounts claimed for rent, taxes, fees and charges, attorneys’ fees and
costs, and any and all other amounts.
                                                                    PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                $0.00
                                                                                                                                                             (disallow in full)




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CREDITOR NAME
VANNA P. REGNER TRUST               VANNA P. REGNER, TRUSTEE
Claim No.          Case No.                                       Applicable Petition Date                                                                   Claim Amount
67-1               15-bk-09385 (Frontier Star CJ, LLC)            N/A                                                                                          $117,788.48
Objections to Claim                                                                                                                                         Disputed Amounts
Specific Objections: Books and Records Objection (Section III.A.1); Unsupported Claim Objection (Section III.A.2.); Non-Debtor Obligation                      $117,788.48
Objection (Section III.A.3.)
The claim is based on a lease between the creditor, as landlord, and MJKL Enterprises, LLC, as tenant. None of the Debtors is a party to the lease upon
which this claim is based. Accordingly, the Trustee asserts a Non-Debtor Obligation Objection. Furthermore, the Debtors’ business records do not support
any claim against any of the Debtors for any obligations arising under the lease on which this claim is based, and the claim provides no information or
documentation establishing that any Debtor is a party to the relevant lease or is otherwise obligated for any amounts owing thereunder. Accordingly, the
Trustee asserts a Books and Records Objection and an Unsupported Claim Objection. Based on these objections, the asserted administrative expense claim
should be disallowed in its entirety.

NOTICE IS HEREBY GIVEN that, to the extent the creditor should establish or should the Court find that one or more of the Debtors is a party to the
lease or is otherwise obligated for any amounts thereunder, the Trustee reserves its right to raise any and all applicable objections he may have to the
amounts sought by the creditor under the lease, including, without limitation, any amounts claimed for rent, taxes, fees and charges, attorneys’ fees and
costs, and any and all other amounts.
                                                                    PROPOSED ALLOWED CLAIM AMOUNT (Claim Amount – Disputed Amounts)                                $0.00
                                                                                                                                                             (disallow in full)




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                                                                 AGREED CLAIMS


                                                                                                                          PROPOSED ALLOWED
                          Creditor                                Case No.         Claim No.        Claim Amount            CLAIM AMOUNT

KAY CHEMICAL COMPANY                                             15-bk-09385          60-1           $14,784.01                  $14,784.01

PAR TECHNOLOGY CORPORATION                                       15-bk-09383         152-1           $32,195.39                  $32,195.39

RICHARDSON IMAGING SERVICES, INC. D/B/A BOTTOM                   15-bk-14682          59-1            $2,643.88                  $1,321.943
SIGN




3
         After negotiations with the Trustee, Richardson Imaging Services, Inc. d/b/a Bottom Sign has agreed to reduce its claim to this amount.

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